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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )                4:01CR3061
                                     )
           v.                        )
                                     )
RICARDO TORRES,                      )                   ORDER
                                     )
                  Defendants.        )
                                     )


     IT IS ORDERED:

     Defendant’s motion for extension of deadline, filing no. 54,

is granted.     The deadline to file pretrial motions is extended to

March 2, 2009.


     DATED this 4th day of February, 2009.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
